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          EXHIBIT A
                                                                                          LOWNDES COUNTY,GEORGIP
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                                                                        7 County - Superior Court
                                                                                                               2020CV055C
                                                                                                         3/25/2020 7:06 PM
                                                                                                             Beth C.Greene
                                                                                     Clerk of Superior State Juvenile Courts
                                                                                                  Reviewed by: Lindsey Tuti
                             IN THE SUPERIOR COURT OF
                         LOWNDES COUNTY,STATE OF GEORGIA


JAY VARRONE,                                          CASE NO.:ffi■ 2020CV0550
                                                      GA BAR NO.: 121837
       Plaintiff,

v.

HOSPITAL AUTHORITY OF
VALDOSTA AND LOWNDES COUNTY,
GEORGIA,d/b/a SOUTH GEORGIA
MEDICAL CENTER,                                       SUMMONS

       Defendant.


THE STATE OF FLORIDA:

To Each Sheriff of the State:

        YOU ARE COMMANDED to serve this summons and a copy of the complaint or
petition in this action on Defendant:

      HOSPITAL AUTHORITY OF VALDOSTA AND LOWNDES COUNTY,
      GEORGIA,d/b/a SOUTH GEORGIA MEDICAL CENTER
      c/o Sam Allen,Chairman
      2501 North Patterson Street
      Valdosta,Georgia 31602

        Each defendant is required to serve written defenses to the complaint or petition on
Marie A.Mattox, P.A., Plaintiff's attorney, whose address is 203 North Gadsden Street,
Tallahassee, Florida 32301, within 20 days after service of this summons on that defendant,
exclusive of the day of service, and to file the original of the defenses with the clerk of this court,
either before serve on plaintiff's attorney or immediately thereafter. If a defendant fails to do so,
a default will be entered against that defendant for the relief demanded in the complaint or
petition.

        DATED on       March        26       ,2020.

                                         Dep. CLERK OF THE CIRCUIT COURT


                                                           /s/ Lindsey Tutt
                                               By:
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                           IN THE SUPERIOR COURT OF
                       LOWNDES COUNTY,STATE OF GEORGIA


JAY VARRONE,                                       CASE NO.:20-
                                                   GA BAR NO.: 121837
       Plaintiff,

v.

HOSPITAL AUTHORITY OF
VALDOSTA AND LOWNDES COUNTY,
GEORGIA,d/b/a SOUTH GEORGIA
MEDICAL CENTER,

       Defendant.


                                        COMPLAINT

       Plaintiff, JAY VARRONE,hereby sues Defendant, HOSPITAL AUTHORITY OF

VALDOSTA AND LOWNDES COUNTY,GEORGIA,and alleges:

                                NATURE OF THE ACTION

       1.     This is an action brought under Title 45,Chapter 1,Section 45-1-4 of the Official

Code of Georgia (OCGA).'

              This is an action involving claims which are,individually,in excess of Fifteen

Thousand Dollars ($15,000.00),exclusive of costs and interest.

                                       THE PARTIES

       3.     At all times pertinent hereto, Plaintiff, JAY VARRONE,was employed by

HOSPITAL AUTHORITY OF VALDOSTA AND LOWNDES COUNTY,GEORGIA,d/b/a

SOUTH GEORGIA MEDICAL CENTER,and was therefore a "public employee" within the


      1 Plaintiff is simultaneously filing a Charge of Discrimination with the Equal
Employment Opportunity Commission,and will amend this action to include claims that must be
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meaning of OCGA Section 45-1-4(a)(3). Plaintiff is a member of a protected class because he

engaged in protected activity and was subject to retaliation thereafter.

        4.     At all times pertinent hereto, Defendant,HOSPITAL AUTHORITY OF

VALDOSTA AND LOWNDES COUNTY,GEORGIA,d/b/a SOUTH GEORGIA MEDICAL

CENTER,has been organized and existing under the laws of the State of Georgia,and has been a

"public employer" within the meaning of OCGA Section 45-1-4(a)(4). Defendant's main offices

are located in Valdosta, Lowndes County,Georgia.

        5.     Plaintiff has satisfied all conditions precedent to bringing this action,if any.

                         STATEMENT OF THE ULTIMATE FACTS

       6.      Plaintiff was initially hired by Defendant in March 2018 as the Director of Supply

Chain Management. He was fired on or about November 15,2019. At the time of his

termination Plaintiff had:

               A.Disclosed a violation of or noncompliance with a law,rule, or regulation to

either a supervisor or government agency; and/or

               B.Objected to,or refused to participate in,an activity, policy or practice of

Defendant that Plaintiff had reasonable cause to believe was in violation of or noncompliance

with a law,rule or regulation.

       7.       By example only,and without limitation, Plaintiff had repeatedly objected to

business practices that caused medical supplies of Defendant to go missing without having been

charged to a patient account,resulting in substantial financial loss. This fraud, waste or abuse

went uncorrected,even after Plaintiff voiced opposition and after Plaintiff tried alternative ways

to bring an end to the practices. Ultimately, Plaintiff was called into a meeting with one official


administratively exhausted prior to their inclusion in this proceeding.
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to whom he had been voicing opposition,and he was fired. Upon information and belief,

Plaintiff's whistleblower activities were a factor in his termination.

        8.      Plaintiff was terminated in retaliation for his whistle-blower disclosures.

        9.      Plaintiff has retained the undersigned to represent his interests in this cause and is

obligated to pay a fee for these services. Defendant should be made to pay said fee under the

statutory provisions cited herein and such other grounds as are authorized.

                                        COUNT II
                        GEORGIA PUBLIC WHISTLEBLOWER ACT

        10.     Paragraphs 1-9 are incorporated herein by reference.

        11.     This is an action against Defendant under OCGA Section 45-1-4 et. seq.

        12.     Plaintiff was a public employee protected under the provisions of OCGA Section

45-1-4(a)(3).

        13.     As stated more specifically,in part, above,Plaintiff reported and disclosed

violations of a law,rule or regulation to persons inside and outside of the normal chain of

command and/or others having the authority to investigate, police, manage and otherwise remedy

the violations of rules, regulations and laws reported by Plaintiff. Plaintiff's reports are within

the scope of OCGA Section 45-1-4 et. seq.

        14.     After reporting these matters as related in part above,Plaintiff was the victim of

retaliatory actions set forth in part above.

        15.     Plaintiff's position and responsibilities within Defendant were adversely affected

as a result of reporting violations of rules,regulations and laws specified in part above and he

was fired.

        16.     Plaintiff maintains that the actions of all employees within Defendant who
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affected their employment adversely did so at least in part in retaliation against him for his

whistleblowing activities.

        17.    As a direct and proximate result of the actions taken against them by Defendant,

Plaintiff suffered injury,including but not limited to past and future wage losses,loss of benefits,

and other tangible and intangible damages. Plaintiff is entitled to injunctive relief,including but

not limited to reinstatement to his former position with all benefits and rights thereto,and is

entitled to compensation for all lost benefits as a result of the wrongful termination.


                                     PRAYER FOR RELIEF

       WHEREFORE,Plaintiff demandsjudgment against Defendant for the following:

               (a)     that process issue and this Court take jurisdiction over this case;

               (b)     that this Court grant equitable relief against Defendant under the

                       applicable counts set forth above,mandating Defendant's obedience to the

                       laws enumerated herein and providing other equitable relief to Plaintiff;

               (c)     enter judgment against Defendant and for Plaintiff awarding all legally-

                       available general and compensatory damages and economic loss to

                       Plaintiff from Defendant for Defendant's violations of law enumerated

                       herein;

              (d)      enter judgment against Defendant and for Plaintiff permanently enjoining

                       Defendant from future violations of law enumerated herein;

              (e)      enter judgment against Defendant and for Plaintiff awarding Plaintiff

                       attorney's fees and costs;

              (f)      award Plaintiff interest where appropriate; and
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       (g)     grant such other further relief as being just and proper under the

               circumstances,including but not limited to reinstatement.

                       DEMAND FOR TRIAL BY JURY

Plaintiff hereby demands a trial by jury on all issues herein that are so triable.


                                       Respectfully submitted,


                                       /s/ Jim Garrity
                                       Jim Garrity(GBN 121837)
                                       Marie A.Mattox(FBN 0739685)
                                       MARIE A.MATTOX,P.A.
                                       310 East Bradford Road
                                       Tallahassee, FL 32303
                                       Telephone:(850) 383-4800
                                       Facsimile:(850) 383-4801
                                       ATTORNEYS FOR PLAINTIFF
